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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                                )
 SCOTT ROSENTHAL, individually and              ) Case No. 1:22-cv-11944-NMG
 on behalf of all others similarly situated,    )
                                                )
                        Plaintiff,              )
                                                )
        v.                                      )      PLAINTIFF’S REQUEST FOR
                                                )     ENTRY OF FINAL JUDGMENT
 BLOOMINGDALE’S INC.,                           )
                                                )
                        Defendant.              )
                                                )


       On August 11, 2023, the Court entered a Memorandum and Order Granting

Bloomingdale’s, Inc.’s Motion to Dismiss Plaintiff’s Complaint for lack of personal jurisdiction

without prejudice (“Dismissal Order”). ECF No. 42. The Dismissal Order provided Plaintiff Scott

Rosenthal (“Plaintiff”) with 30 days, or until September 10, 2023, to file an amended complaint.

       Now, Plaintiff declines his right to file an amended complaint and requests this Court enter

an order of final judgment so that appeal can be taken.


                                               Respectfully submitted,

Dated: August 15, 2023                         /s/ Brian C. Gudmundson
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                                            Counsel for Plaintiff



                               CERTIFICATE OF SERVICE

       I, Brian C. Gudmundson, hereby certify that this document filed through the CM/ECF

system will be sent electronically to the registered participants as identified on the Notice of

Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered

participants on August 15, 2023.



                                                   /s/ Brian C. Gudmundson
                                                   Brian C. Gudmundson




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